                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

TEXAS LEAGUE OF UNITED LATIN                   §
AMERICAN CITIZENS, NATIONAL                    §
LEAGUE OF UNITED LATIN AMERICAN                §
CITIZENS, LEAGUE OF WOMEN VOTERS               §
OF TEXAS, RALPH EDELBACK, and                  §
BARBARA MASON,                                 §
                                               §
                 Plaintiffs,                   §
                                               §
v.                                             §     1:20-CV-1006-RP
                                               §     (lead case)
GREG ABBOTT, in his official capacity as       §
Governor of Texas, RUTH HUGHS, in her          §
official capacity as Texas Secretary of State, §
DANA DEBEAUVOIR, in his official capacity §
as Travis County Clerk, CHRIS HOLLINS, in      §
his official capacity as Harris County Clerk,  §
JOHN M. OLDHAM, in his official capacity as §
Fort Bend County Elections Administrator, and §
LISA RENEE WISE, in her official capacity as §
El Paso County Elections Administrator,        §
                                               §
                 Defendants.                   §


LAURIE-JO STRATY, TEXAS ALLIANCE            §
FOR RETIRED AMERICANS, and BIGTENT §
CREATIVE,                                   §
                                            §
                Plaintiffs,                 §
                                            §
v.                                          §        1:20-CV-1015-RP
                                            §
GREGORY ABBOTT, in his official capacity    §
as Governor of the State of Texas, and RUTH §
HUGHS, in her official capacity as Texas    §
Secretary of State,                         §
                                            §
                Defendants.                 §
                                         AMENDED ORDER

        The Court directs the parties in this action, or counsel acting on their behalf, to appear via

video conference for a hearing on Thursday, October 8, 2020, at 1:00 PM. The Court will hear (1)

Plaintiffs’ Motions for Preliminary Injunction, (Case No. 1:20-cv-1006, Dkt. 15; Case No. 1:20-cv-

1015, Dkt. 9), and (2) Defendants’ Motion to Dismiss, (Case No. 1:20-cv-1006, Dkt. 31), as it

pertains to jurisdictional challenges to Plaintiffs’ claims.

        This Amended Order amends the Court’s October 5, 2020 Order setting only the Motions

for Preliminary Injunction for a hearing. The date, time, and location for the hearing remains the

same.

          SIGNED on October 7, 2020.



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                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE
